Case 1:18-cr-20758-MGC Document 68-1 Entered on FLSD Docket 09/18/2020 Page 1 of 1

UNITED STATES DISTRICT COURT

 

 

SOUTHERN DISTRICT OF FLORIDA : -
aw :
UNITED STATES OF AMERICA ) “Bo
Plaintiff, ) Case No. D-FLS-1:18-CR-020758-MGC-001 7 FS a
) Xolc
vs ) a a
) ASSIGNMENT OF BAIL BOND ii
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Defendant. ) aime
Manuel A. Baldizon Mendez / ) Se eas
: I, Rosa M. Vargas Morales , Cash Bond assignee in the above numbered

 

(Complete name as appeared on original bond)
and styled cause, do hereby assign, transfer and authorize my case bond refund in the amount of
$50,000.00 plus accrued interest to be made payable to
Manuel Antonio Baldizon Vargas whose mailing address is

(Complete name of assignee)
426 Grapetree Drive, Apt 211, Key Biscayne, FL 33149

(Street Address, City, State, and Zip)
upon final disposition of the above numbered and styled cause.

 

The undersigned Cash Bond Depositor understands that once this document is signed, all aes:
claims, and interest of ownership are immediately transferred to the above assignee.

(The above assignee must complete an Internal Revenue Service Form W-9 or if the assignee is a
nonresident alien individual, the assignee must complete a Form W-8, either of which may be obtained
from the Clerk’s Office Financial Section or Internet. The completed W-8 or W-9 form should be
provided to the Financial Section, but not filed in the Court file. Upon final disposition of the above
numbered and styled cause, a Motion for Disbursement of Bond, along with a signed copy of this form
must be filed with the Court. A check will be mailed to the address indicated on the completed orm,
unless directed in writing otherwise.) Aule uy J

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September 14th, 2020 S e 5

(Date) & i KS =

oe a

The foregoing instrument was acknowledged before me this __ day of , 23 . - =

, by (Complete name as appeared on original bond), who personally ,;;2." Bi
appeared before me and who is personally known to me or has produced 53 i :

as identification. ania

 

 

NOTARY PUBLIC, STATE OF FLORIDA
Print Name:
My Commission Expires:

 
